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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Mary Feist and Joey Almer,          )
                                    )    ORDER FOR MID-DISCOVERY
             Plaintiffs,            )    STATUS CONFERENCE
                                    )
       vs.                          )
                                    )
Morgan L. Krotseng and Marsha V.    )
Krotseng,                           )
                                    )    Case No. 1:21-cv-055
             Defendants.            )
______________________________________________________________________________

       A mid-discovery status conference will be held before the magistrate judge on October 15,

2021, at 9:00 AM. The conference will be conducted via telephone conference. To participate in

the conference, counsel shall call the following number and enter the following access code:

       Tel. No.: (877) 810-9415

       Access Code: 8992581

Parties are advised that telephone conferences may be electronically recorded for the convenience

of the Court.

       IT IS SO ORDERED.

       Dated this 8th day of June, 2021.


                                            /s/ Clare R. Hochhalter
                                            Clare R. Hochhalter, Magistrate Judge
                                            United States District Court
